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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  IMPLICIT, LLC                                   §
                                                  §
                                                            Case No. 2:19-CV-0040-JRG-RSP
  v.                                              §
                                                                   LEAD CASE
                                                  §
  IMPERVA, INC.                                   §

                                    Motions Hearing
                           MAG. JUDGE ROY PAYNE PRESIDING
                                    February 6, 2020
  OPEN: 1:30 pm                                        ADJOURN: 4:00 pm

  ATTORNEYS FOR PLAINTIFF:                            See attached

  ATTORNEY FOR DEFENDANTS:                            See attached

  LAW CLERK:                                          Jonathan Todd

  COURT REPORTER:                                     Shelly Holmes

  COURTROOM DEPUTY:                                   Becky Andrews

  Court opened. Case called. Bo Davis announced ready and introduced co-counsel. Melissa
  Smith announced ready for Juniper and introduced co-counsel. Deron Dacus announced ready
  for Fortinet and introduced co-counsel. Mike Jones announced ready for Intel. Jessica Benzler
  announced ready for Imperva.

  David McPhie argued Juniper Networks, Inc.’s Motion to Transfer Venue to the District of
  Delaware (Dkt. No. 164) and Juniper Networks, Inc.’s Motion to Stay Pending Decision on
  Transfer Motions (Dkt. No. 174). Matt Gaudet also argued Fortinet, Inc’s Supplemental Motion
  to Transfer Venue to the District of Delaware (Dkt. No. 185) and Fortinet, Inc.’s, Motion to Stay
  (Dkt. No. 202). Bo Davis responded for Implicit.

  The Court took the motions under advisement.
